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                Exhibit 3
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 1
                                 UNITED STATES DISTRICT COURT
 2
                              NORTHERN DISTRICT OF CALIFORNIA
 3
     IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 4   LIABILITY LITIGATION
                                                       Case No. 3:16-md-02741-VC
 5

 6                                                     [PROPOSED] ORDER REGARDING PFS
     This document relates to:                         COMPLETION AND DEFICIENCIES
 7
     ALL ACTIONS
 8

 9

10          This Order shall govern (l) all cases that have been or will be transferred to this court by
11   the Judicial Panel on Multidistrict Litigation, including those cases identified in the original
12   Transfer Order and those subsequently transferred as tag-along actions; and (2) all cases
13   otherwise transferred or removed to this MDL other than the four plaintiffs identified for initial
14   trial work-up unless otherwise indicated specifically herein.1 It is ORDERED as follows:
15   Timing and Form of Submission
16          1.      The final Plaintiff Fact Sheet (“PFS”), including Authorizations for Release of
17   Records referenced in Exhibits A-E, for use in this litigation is attached to this Order. The PFS
18   shall be completed in each case currently pending in this MDL and in all cases that become part
19   of this MDL by virtue of being filed in, removed to, or transferred to this court.
20          2.      Plaintiffs shall each complete and serve upon Monsanto a PFS and Authorizations
21   for Release of Records (Exhibits A-D) in the time and format specified below.
22          3.      A completed PFS, signed and dated Authorizations, and all responsive documents
23   in Plaintiff’s possession shall be submitted to Monsanto on the following schedule: (a) within 60
24   days from the date of this Order for any plaintiffs currently in the MDL who reside in California;
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     1
26    Those four cases are Hardeman (3:16-cv-525), Stevick (3:16-cv-2341), Gebeyehou (3:16-cv-
     5813), and Penrod (3:16-cv-5901).
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 1   (b) within 120 days for all other plaintiffs whose cases are currently docketed in this MDL; and
 2   (d) within 90 days from the date of transfer for any cases that have not yet been transferred to
 3   this MDL.
 4          4.      If the Court determines that the use of MDL Centrality is appropriate in this
 5   MDL, Plaintiffs and Monsanto shall use the online MDL Centrality System designed and
 6   provided by BrownGreer PLC and accessible at www.MDLCentrality.com to implement the
 7   provisions of this Order.
 8          5.      Each plaintiff required by this Order to submit a PFS shall, by counsel or pro se,
 9   establish a secure online portal in the MDL Centrality online system and obtain authorized user
10   names and secure login passwords to permit use of MDL Centrality by counsel and/or plaintiff.
11   Except as set forth herein, Counsel for plaintiff or each pro se plaintiff shall be permitted to
12   view, search and download on MDL Centrality only those materials submitted by that plaintiff,
13   and not materials submitted by or relating to other plaintiffs.
14          6.      Counsel for Monsanto shall establish a secure online portal with the MDL
15   Centrality online system and obtain authorized user names and secure login passwords to permit
16   use of MDL Centrality.
17          7.      Each plaintiff is required to obtain, complete, and upload data, and serve the
18   appropriate PFS including the upload of all PDFs, documents, other electronic images,
19   photographs and videos and all records authorizations requested therein through the MDL
20   Centrality online portal. The PFS provided must be complete in all respects, answering every
21   question in the PFS, even if a plaintiff can answer the question in good faith only by indicating
22   “not applicable.” Each plaintiff shall submit to BrownGreer a PDF of the last page of the PFS in
23   which the plaintiff, not his or her attorney, declares under penalty of perjury that the information
24   in the PFS submitted online is true and correct to the best of the plaintiff’s knowledge. If a
25   plaintiff brings suit in a representative or derivative capacity, the PFS shall be completed by the
26   person with the legal authority to represent the estate or person under legal disability. This
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 1   certification page must include the plaintiff’s original signature, or that of a proper legal
 2   representative. Counsel for plaintiffs are not permitted to sign the PFS on a client’s behalf. Each
 3   plaintiff must sign each of the required Records Authorizations, which will be uploaded and
 4   served through MDL Centrality.
 5           8.      Service of the completed PFS and records authorizations shall be deemed to occur
 6   when the submitting party has performed each of the steps required by the MDL Centrality
 7   System to execute the online submission of the materials, and the submitting party has received
 8   confirmation on screen that the materials have been successfully submitted.
 9           9.      If a party must amend a previously served PFS, all subsequent versions must be
10   named accordingly (“First Amended Fact Sheet”, Second Amended Fact Sheet”, etc.) and the
11   certification page must include the plaintiff’s original signature, or that of a proper legal
12   representative. All iterations of the PFS shall remain accessible through trial, appeal (if any) and
13   other resolution of the litigation.
14   Procedure for Deficiencies
15           10.     Plaintiffs who fail to provide a complete and verified PFS, signed and dated
16   Authorizations, an original signature page, and all responsive documents requested in the PFS
17   within the time periods set forth herein shall be given notice of deficiency by Monsanto within
18   the following timeframes: (a) 45 days from receipt of the partial PFS for plaintiffs whose fact
19   sheets are due in 60 days; (b) 90 days from receipt of the partial PFS for plaintiffs currently in
20   the MDL whose fact sheets are due in 120 days; and (c) 60 days for plaintiffs who are transferred
21   to the MDL and whose fact sheets are due in 90 days after transfer.
22           11.     If a plaintiff submits a partially completed PFS within the time specified in this
23   Order, Monsanto’s counsel shall send deficiency correspondence by e-mail through the MDL
24   Centrality System to plaintiffs’ Lead Counsel and the plaintiffs’ individual representative
25   counsel, identifying the purported deficiencies.
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 1          12.     Plaintiffs will then be given an opportunity to cure any deficiencies within the
 2   following timeframes: (a) 30 days from receipt of the deficiency letter for plaintiffs whose fact
 3   sheets are due in 60 days; (b) 45 days from receipt of the deficiency letter for plaintiffs currently
 4   in the MDL whose fact sheets are due in 120 days; and (c) 30 days from receipt of the deficiency
 5   letter for plaintiffs who are transferred to the MDL and whose fact sheets are due in 90 days.
 6          13.     If a plaintiff does not submit a cured PFS within the time specified in Paragraph
 7   13 of this Order, Monsanto may move immediately to dismiss that plaintiff’s case with prejudice.
 8   This motion can be made through the Court’s standing procedures for discovery disputes.
 9          14.     If a plaintiff does not submit a PFS at all within the time specified in this Order,
10   Monsanto must notify plaintiff’s counsel and Lead Counsel and provide plaintiff 10 days in
11   which to do so. If plaintiff has not submitted a completed PFS within those 10 days, Monsanto
12   may move immediately to dismiss that plaintiff’s case with prejudice. This motion can be made
13   through the Court’s standing procedures for discovery disputes procedures.
14          15.     If plaintiffs’ counsel voluntarily dismiss the complaints of any MDL plaintiffs
15   who allege residency in California, including the first four selected for work-up, Monsanto is
16   entitled to the first and/or next selection of any potential trial cases. This will ensure that
17   plaintiffs do not dismiss voluntarily only their “weakest” cases or refuse to submit PFSs for their
18   weakest cases. This is a mechanism that has been employed in various other MDLs to prevent
19   manipulation of the early trial selection process.2
20          Miscellaneous
21          16.     Plaintiffs’ responses to the PFS shall be treated as answers to interrogatories
22   under Fed. R. Civ. P. 33 and responses to requests for production of documents under Fed. R.
23   Civ. P. 34 and shall be supplemented in accordance with Fed. R. Civ. P. 26.3.
24
     2
      See In re Fosamax Prods. Liab. Litig., No. 1:06-MD-1789, CMO No. 9 (Dkt. 74) at 2-3
25   (S.D.N.Y. Jan. 31, 2007).
     3
26     See, e.g., In re Yasmin & Yaz (Drospirenone) Mktg., Sales Practices & Prods. Liab. Litig.,
     MDL No. 2100, No. 3:09-md-02100-DRH-PMF, Order No.12, Case Management (PFS) (S.D.
27   Ill. Mar. 3, 2010) (“A completed PFS. . . shall be considered to be interrogatory answers and
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 1          17.     This section does not prohibit a plaintiff from withholding or redacting
 2   information from medical or other records provided with the PFS based upon a recognized
 3   privilege. If information is withheld or redacted on the basis of privilege, plaintiff shall provide
 4   Monsanto with a privilege log that complies with Fed. R. Civ. P. 26 (b)(5) simultaneously with
 5   the submission of the PFS.
 6          18.     Monsanto’s use of the PFS and Authorizations shall be without prejudice to its
 7   right to serve additional discovery in all cases, including the first four cases selected for work-up,
 8   as permitted by the Federal Rules of Civil Procedure.
 9          19.     Each plaintiff, including the first four plaintiffs who’s cases have been selected
10   for work-up, shall immediately preserve and maintain, without deletions or alterations, any
11   content of any personal webpage(s) or social media accounts currently held by them, including
12   but not limited to, photographs, text, links, messages and other postings or profile information
13   that is relevant to the subject matter of this litigation. “Social media” includes, but is not limited
14   to, Facebook, Myspace, Linked In, and/or blogs. The plaintiffs shall preserve this data by
15   downloading it to a suitable storage device, by printing out copies on paper, or by other means
16   consistent with law and court rules applicable to document and data preservation.
17   IT IS SO ORDERED.
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19   Date: _________________, 2018                _____________________________________
20                                                HONORABLE VINCE CHHABRIA
21                                                UNITED STATES DISTRICT COURT
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     responses to requests for production under the Federal Rules of Civil Procedure, and will be
26   governed by the standards applicable to written discovery under the Federal Rules of Civil
     Procedure.”).
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